    Case 2:22-cv-00255-JRG-RSP Document 4 Filed 07/12/22 Page 1 of 3 PageID #: 130
     Case 2:22-cv-00255-JRG-RSP Document 3 Filed 07/08/22 Page 1 of 2 PagelD #: 128

AO 440(Rev. 06/12) Summons in a Civil Action


                                    United States District Court
                                                               for the
                                                     Eastern District of Texas


            Distributed Media Solutions, LLC                     )
                                                                 )
                                                                 )
                                                                 )
                           PkmUiff(s)                            )
                               V.
                                                                 )        Civil Action No. 2:22-cv-255-JRG-RSP
                                                                 )
                          Aspiro AB                              )
                                                                 )
                                                                 )
                                                                 )
                          Defeiukml(s)                           )

                                               SUMMONS IN A CIVIL ACTION

                                      Aspiro AB
1 o: (DefendanI's name and address)
                                      SERVE; Service of Process, Texas Secretary of State
                                      James E. Rudder Building
                                      1019 Brazos, Room 105
                                      Austin, TX 78701




         A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United Slates or a United Stales agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure, 'fhe answer or motion must be served on the plaintiff or plaintiffs attorney,
whose name and address are:
                                Stafford Davis
                                The Stafford Davis Firm, PC
                                815 South Broadway Avenue
                                Tyler, Texas 75701



       If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                            CLERK OF COURT


                                               .S:
Date;     lfS/22
                                                                     05
                                                                                      Signature ofClerk or Deputy Clerk


                                                m                                                           ATX Process,LLC
                                                                                                           604 West Qtl'' Street
                                                                                                                 Suit© B
     Case 2:22-cv-00255-JRG-RSP Document 4 Filed 07/12/22 Page 2 of 3 PageID #: 131
      Case 2:22-cv-00255-JRG-RSP Documents Filed 07/08/22 Page 2 of 2 PagelD#: 129

AO 440(Rev. 06/12) Summons in a Civil Action(Page 2)

Civil Action No. 2:22-cv-255-JRG-RSP


                                                         PROOF OF SERVICE
                   (This section shouid not befiled with the court unless required by Fed. R. Civ, P. 4(!))


          This summons for (name ofindividual and rule, ifany)
was received by me on (date)


          □ I personally served the summons on the individual at (place)
                                                                               on (date)                                ; or

          □ I left the summons at the individual’s residence or usual place of abode with (name)

                                                                , a person of suitable age and discretion who resides there,
          on (date)                              , and mailed a copy to the individual’s last known address; or

          □ 1 served the summons on (name ofindividual)                                                                          , who is

           designated by law to accept service of process on behalf of (name of organization)
                                                                               on (date)                                ; or

          □ I returned the summons unexecuted because                                                                                 ; or

          O Other (specify):




          My fees are $                          for travel and $                  for servi                    of$            0.00


          1 declare under penalty of perjury that this information i
                                                                                                ATX Process, LLC
                                                                                               604 West 9th Street
Date:
                                                                                                                7S701



                                                                                       Printed name and title




                                                                                           Server's address


Additional information regarding attempted service, etc:




          Print                      Save As...                                                                          Reset
          Case 2:22-cv-00255-JRG-RSP Document 4 Filed 07/12/22 Page 3 of 3 PageID #: 132
                                     AFFIDAVIT OF SERVICE

                                             UNITED STATES DISTRICT COURT
                                                  Eastern District of Texas

Case Number: 2:22-CV-255-JRG-RSP

Plaintiff;
Distributed Media Solutions, LLC
vs.
Defendant:
Aspiro AB

For:
The Stafford Davis Firm, PC
The People's Petroleum Building
102 North College Avenue, Suite 1300
Tyler, TX 75702

Received by Dane Ray Cuppett on the 11th day of July, 2022 at 9:11 am to be served on Aspiro AB by serving through the
Texas Secretary of State, 1019 Brazos St, Austin, Travis County, TX 78701.

I , Dane Ray Cuppett, being duly sworn, depose and say that on the 11th day of July, 2022 at 3:35 pm, I:

executed to the SECRETARY OF STATE by delivering in duplicate a true copy of the Summons in a Civil Action, Civil Cover
Sheet, Plaintiffs Complaint for Patent Infringement, Exhibit A, Exhibit B, and Exhibit C with the date of delivery endorsed
thereon by me, to: Danielle Jordan at 1019 Brazos St, Austin, Travis County, TX 78701, as the designated agent for the
Texas Secretary of State to accept delivery of process on behalf of Aspiro AB. An administrative fee of $55.00 was also
tendered.



I certify that I am over the age of 18, have no interest in the above action, and am a certified process server, in good standing, in
the judicial circuit in which the foregoing occurred. The facts in this affidavit are within my personal knowledge and true and
correct.




                                                                                                                    2
                                                                                                       Da^^^^y Cuppett
Subscrib^-and sworn to before me on the^^                                                              PSC-7114, Exp. 10/31/2023
day of    U                      by the affiant
wh(^ perso;ially fttvdwn to me.                                                                                           T
                                                                                                       Date

NetARY PUBL                                                                                           ATX Process, LLC
                                                                                                      604 West 9th Street
                                                                                                      Suite B
                        NlCaEM.WADE                                                                   Austin, TX 78701
                                                                                                      (512) 717-5600
       ''5^V': My          ^ 129086887
                Expires August 9,2(E4
                    ■           ^                                                                      Our Job Serial Number: ATX-2022007472
                                                                                                       Ref: Distributed Media Solutsions v Aspiro AB




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